             Case 3:15-cr-02430-DMS                        Document 20                 Filed 10/28/15            PageID.87            Page 1 of 2
, '"
       '&AO 2458 (CASD) (Rev. 4/14)   Judgment in a Criminal Case
                  Sheet 1



                                                UNITED STATES DISTRICT COURT                                                       2015 OCT 28 Prl 2: 34
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                          v.                                           (For Offenses Committed On or      After!Ntw.embed,1987)"~" . OFl'IIT··
                            SANTOS VAZQUEZ-PEREZ                                       Case Number: 15CR2430-DMS
                                                                                       Benjamin P Davis FD
                                                                                       Defendant's Attorney
       REGISTRATION NO. 34162408
       o
       THE DEFENDANT:
       181 pleaded guilty to count(s) --.:,4..:0.:.f..:th:..:e...:I.::n.:.di:..:c.::tm:..:e:..:n:..:t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       o was found guilty on count(s)I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
       Title & Section                         Nature of Offense                                                                             Number(s)
8 USC 1325                              IMPROPER ENTRY BY AN ALIEN                                                                           4




         The defendant is sentenced as provided in pages 2 through                 2         of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  IXJ Count(s)_':,:e:::m::;a:::'."::;'."::Jg'---_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is IVI are D"
   ~                                                                                      ~   dismissed on the motion of the United States.
  [8] Assessment: $100.00 ordered waived.


   181 Fine waived                                   o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                October 28,2015
                                                                               Date    OfImpOSitio:.s~ m           .:4JJ
                                                                               HON.DAN~aRAW
                                                                               UNITED STATES DISTRICT JUDGE


                                                                                                                                                 15CR2430-DMS
          Case 3:15-cr-02430-DMS                      Document 20           Filed 10/28/15         PageID.88           Page 2 of 2
"
    AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
               Sheet 2 - Imprisonment

                                                                                                     Judgment- Page   _..:2_ of      2
     DEFENDANT: SANTOS VAZQUEZ-PEREZ
     CASE NUMBER: 15CR2430-DMS
                                                               IMPRISONMENT
             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
             FOUR (4) MONTHS.



         o Sentence imposed pursuant to Title USC Section 1326(b).
                                                     8
         D The court makes the following recommendations to the Bureau ofPl'isons:



         o The defendant is remanded to the custody ofthe United States Marshal.
         o The defendant shall surrender to the United States Marshal for this district:
               Oat                                    Oa.m.       Op.m.      on _ _ _ _ _ _ _ _ _ __

                  as notified by the United States Marshal.

         o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             o before _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             o as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

    I have executed this judgment as follows:

            Defendant delivered on                                                      to

    at                                                   with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL


                                                                          By _ _ _ _~~~~~~~~~~------
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                           15CR2430-DMS
